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LINCOLN S QUARE LEGAL SERVICES ; In Cc, Fordham University Schaoi of Law Tel 212-636-6934
150 West 62nd Street, Ninth Floor Fax 212-636-6923
New York, NY 10023
November 4, 2020
VIA ECF

Honorable P. Kevin Castel

United States District Judge
Southern District of New York
Daniel Patrick Moynthan Courthouse

500 Pearl Street Application Granted.
New York, NY 10007 LL
. So Ordered:

Re: U.S. v. Hilton Marrero *Ton P. Kevin Castel, US.DJ.

11 Cr 568 (PKC)
/ // YG -RO

We represent Mr. Hilton Marrero in the above-referenced case, for which we have a hearing
scheduled for Monday, November 9, 2020 at 12:00 p.m. We write, with the government’s consent,
to respectfully request to have a law student intern assist in the hearing.

Dear Judge Castel:

Tam a clinical law professor at Fordham, and work alongside students to represent our
clients in the Fordham Law School Clinic via our non-profit firm, Lincoln Square Legal Services,
Inc. While we understand that students do not typicaily argue criminal matters, the Southern
District of New York allows students to assist in civil matters, including habeas petitions. We see
the upcoming argument for a sentencing reduction as more akin to a habeas petition than a pre-
conviction criminal proceeding, where the interests of having counsel present arguments are
stronger. We also note that the Second Circuit permits student arguments in criminal appeals.
Finally, we know that some defendants proceed pro se in these motions, which gives us additional
reason to believe that student argument here would not be inappropriate.

Importantly, Mr. Marrero has not only consented to a student arguing, as documented in the
enclosed Law Student Appearance form, he has explicitly requested it. My colleague, Jennifer
Louis-Jeune, and I wili be on the call and will supplement the argument as necessary. The students,
under our supervision, wrote the opening request and the reply. They are well-versed in the issues.

We appreciate the Court’s consideration of this request.

Respectfully submitted,

/sf Michael W. Martin

Michael W. Martin

Executive Director

Lincoln Square Legal Services, Inc.
Attorney for Defendant

Encl,

cc: AUSA Thomas 5. Burnett (by ECF)

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

United States No, 11 Cr 568 (PKC)
hon Vv. LAW STUDENT INTERN
Hilton Marrero APPEARANCE FORM

 

 

 

1. Law Student Certification

 

I certify that:

(a) Iam duly enrolled in Fordham law school
in accordance with part (c)(1) of the Student Practice Rule of the Southem District of
New York.

(b) Iam receiving no compensation from the client in accordance with part (c)(6) of the
Student Practice Rule of the Southern District of New York.
(c) Lam familiar and will comply with the Code of Professional Responsibility of the

 

 

American Bar Association.
(d) Iam familiar with the federal procedural and evidentiary rules relevant to the action in
which I am appearing.
November 4, 2020 Cheb ath
(date) "(Signature of Student)

Elizabeth Marley

 

 

 

 

(Print Name)
2. Certification of Law Schoo! Dean or Authorized Designee
I certify that this student:
(a) has completed at least two semesters of law school work and is a participant in an
approved clinical program;
(b) is qualified, to the best of my knowledge, to provide the legal representation pemnitted
by this rule, and . ;
(c} that Jennifer Lous Jeune _, who will serve as supervising
attorney, is a participant in a clinical program approved by this school.
November 4, 2020 Aly th whl
(date) (Signature of Dean or Authorized Designee)
Michael Martin Authorized Designee

 

 

(Print Name) (Position of Above)

 
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3. Consent of Supervising Attorney
As a member of the bar of the United States District Court for the Southern District of New
York, I will:

(a) assume personal professional responsibility for this student’s work;
(b) assist this student to the extent necessary;
(c) authorize this student to appear in court or at other proceedings, and to prepare

documents, and
(d) appear with this student in all proceedings before the Court.

November 4, 2020 fra pd faut “Tein
(date) 7” Gignature 6f Attorney)

Jennifer Louts-Jeune
(Print Name)

 

4. Consent of Client or United States Attomey
1 authorize this student:

(a) to appear in court or at other proceedings on my behalf, and
(b) to prepare documents on my behalf.

[am aware that he/she is not admitted to the bar and that he/she will appear pursuant to the

United States District Court, Southern District of New York, Student Practice Rule.
11/2/2020 Khe lion

(date) (Signature of Attorney)

Hilton Marrero
(Print Name)

 

 

(If more than one client is involved, approvals from each shall be attached. Ifa class action
is involved, approvals from named plaintiffs shall be attached.)

5. Consent of Judge
{ authorize this student:

(a) to appear in court or other proceedings on behalf of the above client, and
(b) to prepare documents on behalf of the above client.

 

 

(date) (Signature of Judge)
Judge P. Kevin Castel
(Print Name)

 

 
